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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION

  THE STATE OF LOUISIANA,
  By and through its Attorney General, Liz
  Murrill,

                                        PLAINTIFF,

  v.                                                  CIVIL ACTION NO. 2:23-cv-00692

  UNITED STATES ENVIRONMENTAL
  PROTECTION AGENCY; et al.,

                                     DEFENDANTS.


                                    [PROPOSED] JUDGMENT

        For the reasons stated in this Court’s Memorandum Ruling of January 23, 2024 (Doc. 48),

 consistent with the Partial Judgment dated January 23, 2024 (Doc. 49), and the Court having reviewed

 the parties’ briefing on the form of final judgment (Doc. 57),

        1.      IT IS ORDERED AND ADJUDGED that:

        JUDGMENT IS HEREBY ENTERED in favor of the State of Louisiana on Counts III,

 IV, V, and VI of the Complaint. Counts I, II, and VII of the Complaint are DISMISSED

 WITHOUT PREJUDICE, and JUDGMENT IS HEREBY ENTERED in favor of Defendants

 on those Counts.

        2.      IT IS FURTHER ORDERED AND ADJUDGED that:

        Defendants the United States Environmental Protection Agency (EPA); Michael S. Regan in

 his official capacity as Administrator of the EPA; the Director of the EPA’s Office of External Civil
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 Rights Compliance; 1 the United States Department of Justice (DOJ); and Merrick Garland in his

 official capacity as Attorney General of the United States of America are PERMANENTLY

 ENJOINED from:

                 (A)     Enforcing the Title VI disparate-impact requirements contained in 40 C.F.R.

         § 7.35(b), (c) and 28 C.F.R. § 42.104(b)(2) against any entity in the State of Louisiana, or

         requiring compliance with those requirements as a condition of past, existing, or future awards

         of financial assistance to any entity in the State of Louisiana; and

                 (B)     Enforcing against any entity in the State of Louisiana any EPA disparate-

         impact requirement under Title VI or cumulative-impact-analysis requirement under Title VI

         that has not been ratified by the President pursuant to 42 U.S.C. § 2000d-1 and is not contained

         in the EPA regulations implementing Title VI within 40 C.F.R. Part 7.

         3.      IT IS FURTHER ORDERED AND ADJUDGED that: 40 C.F.R. § 7.35(b), (c)

 and 28 C.F.R. § 42.104(b)(2) are vacated pursuant to 5 U.S.C. § 706(2) insofar as they permit liability

 based on any disparate-impact theory. As a result, liability under those provisions shall be limited solely

 to intentional discrimination.




         IT IS SO ORDERED.


 ENTERED: _________ ___, 2024
                                                  James D. Cain, Jr.
                                                  United States District Judge




 1
  In its Complaint, Plaintiff named as a defendant, Lilian S. Dorka, in her official capacity as Director
 of EPA’s External Civil Rights Compliance Office. ECF No. 1. Ms. Dorka no longer serves in that
 position, and is thus no longer a named defendant. See Fed. R. Civ. P. 25(d); see also Fed. R. Civ. P.
 17(d).


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